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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


 RowVaughn Wells, Individually and as                   )
 Administratrix of the Estate of Tyre Deandre           )
 Nichols, Deceased,                                     )
                                                        )
                                                        )
          Plaintiff,                                    )
                                                        )
 v.                                                     )    CASE NO. 2:23-CV-02224-SHL-atc
                                                        )    JURY DEMAND
 The City of Memphis, Tennessee; Chief Cerelyn          )
 Davis; Emmitt Martin III;                              )
 Demetrius Haley; Justin Smith;                         )
 Desmond Mills, Jr.; Tadarrius Bean;                    )
 Preston Hemphill; Robert Long;                         )
 JaMichael Sandridge; Michelle Whitaker;                )
 DeWayne Smith,                                         )
                                                        )
          Defendants.                                   )


 THE CITY DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO CONTINUE
            JULY 23 HEARING OR ORDER REMOTE HEARING


          Defendant the City of Memphis (the “City”) respectfully submits this Response to

Plaintiff’s Motion to Continue July 23 Hearing or Order Remote Hearing. (ECF No. 448.)

         Due to the large number of parties and attorneys in this case, the City feels that it is

appropriate to keep the July 23, 2025 Status Conference as originally scheduled. It appears that

counsel for all of the parties are available to attend the July 23, 2025 Status Conference, either

remotely or in-person. In fact, counsel for Plaintiff will be in Memphis for a deposition on July

23, 2025. Consequently, Plaintiff’s counsel can make themselves available in-person and their




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more senior counsel can be available virtually. 1 It should also be noted that Plaintiff has 10

attorneys of record in this case.

         The City also participated in a conference call with the Court’s case manager (Mr.

Warren) on Monday, July 14 to discuss the nature of the Status Conference. There was some

concern from Plaintiff’s counsel that we would be arguing all pending motions on July 23 and

that it would interfere with the deposition scheduled for that day. We inquired with Mr. Warren as

to whether the motions would be argued at that time. He advised that this is merely a status

conference, and he explained that no motions would be substantively argued. He further

explained that if the Court intended to hear arguments, the Court would set a hearing for each

motion to be heard. He also explained how packed the Court’s calendar is for the month of

August 2025 and the difficulty with finding another available date.

         In light of this, the City believes it is appropriate and efficient to keep the originally

scheduled Status Conference set for July 23, 2025 at 1:30 pm, which is a date and time when

counsel for all the parties is available.

         The City has no opposition to counsel for Plaintiff appearing remotely (or some

combination of virtual and in-person attendance) at the Status Conference, but the City feels that

direct in-person communication with the Court is the most effective and efficient way to proceed.

Accordingly, the City objects to Plaintiff’s alternative request for the Court to mandate a virtual

format for the Status Conference on July 23, 2025 for all the parties.




1
 Steve Weil represented to the case manager on the July 14, 2025 conference call that he and
Antonio Romanucci were “senior counsel” on this case.
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                                                  Respectfully submitted,

                                                  BAKER, DONELSON, BEARMAN,
                                                  CALDWELL & BERKOWITZ, P.C.

                                                  s/ Bruce McMullen
                                                  Bruce McMullen (#18126)
                                                  Jennie Vee Silk (#35319)
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                                                  Attorneys for Defendant City of Memphis,
                                                  Chief Cerelyn Davis in her Individual
                                                  Capacity, and Dewayne Smith as Agent of
                                                  the City of Memphis




                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing has been served upon all
other counsel of record and the Guardian Ad Litem via email on July 16, 2025.



                                                   s/ Bruce A. McMullen




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